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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  MORIAH AHARON, et al.,
  each on behalf of themselves,                      CASE NO. 9:20-cv-80604-RKA
  and all those similarly situated,                  CLASS ACTION
                                                     JURY TRIAL DEMANDED

  Plaintiffs,

  v.

  CHINESE COMMUNIST PARTY;
  PEOPLE’S REPUBLIC OF CHINA; and
  PETROCHINA INTERNATIONAL
  (AMERICA), INC.

  Defendants.
  _______________________________/


  PLAINTIFFS’ MOTION FOR AN EXTENSION OF TIME TO EFFECTUATE SERVICE

           Plaintiffs, pursuant to the Court’s July 6, 2020 Order and August 24, 2020 paperless

  Order on Plaintiffs’ Motion for Reconsideration, [DEs 18, 32], as well as Fed.R.Civ.P. 4(m) and

  28 U.S.C. §§ 1608(a), hereby respectfully move this Court for an Order extending the time for

  Plaintiffs to effectuate service on foreign Defendants the CHINESE COMMUNIST PARTY

  (“CCP”) and the PEOPLE’S REPUBLIC OF CHINA (“PRC”), and in support thereof, further

  state:

                                       Procedural Posture

           1.     The original Complaint was filed on April 8, 2020, and the First Amended

  Complaint was filed July 7, 2020. [DEs 1, 19]. On July 2, 2020, Plaintiffs requested an

  extension of time on to serve the China based Defendants for a variety of reasons, including

  delays caused by the pandemic; the process of finding the correct service vendor and service
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  addresses; the need to amend the complaint (which had to be translated); and general roadblocks

  to serving within China. [DE 16]. That Motion was granted with an extension through October

  5, 2020, but the matter was administratively closed, and the Order cautioned that “[f]ailure to

  serve the Defendants by that date will result in dismissal without further notice.” [DE 16].

            2.   Plaintiffs subsequently filed a Motion for Reconsideration, requesting that the

  Court reconsider and modify the statement in the Order to “state failure to serve Defendants by

  the date ‘may’ result in dismissal, and further request that it not be without further notice, due to

  the difficulties with service in or on China beyond undersigned’s control.” [DE 23, ¶ 3].

            3.   Although the Court denied the Motion for Reconsideration, the Order did state

  that Plaintiffs may move for an extension of time to serve the China based Defendants, [DE 32],

  and this Motion is timely filed pursuant to the October 5, 2020 deadline set in the July 6, 2020

  Order.1

            4.   Counsel for Defendant PETROCHINA INTERNATIONAL (AMERICA), INC.

  (“PCIA”) has represented to undersigned that PCIA takes no position as to the relief requested

  herein.2




  1
    Plaintiffs have further complied with the July 6, 2020 Order by filing status reports every thirty
  days. [See DEs 29, 33, 34].
  2
    PCIA has requested that their response to Plaintiffs’ operative complaint would be due forty-
  five (45) days after either service is effectuated over the foreign Defendants or, and to the extent
  the action is not dismissed in its entirety, the foreign Defendants are dismissed from the action,
  and Plaintiffs agree to this relief.
                                                   2
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  I.      MEMORANDUM OF LAW

       A. Plaintiffs Have Met the Eleventh Circuit Standard to Excuse Delay in Foreign
          Service

          1. Good Cause, Diligence, and Foreign Service

          Pursuant to the Court’s Order Setting the Initial Planning and Scheduling Conference,

  Plaintiffs posit that they have shown good cause as to why service upon Defendants has not been

  perfected. Even under Fed.R.Civ.P. 4(m)’s ninety day deadline for service within the United

  States, federal courts in Florida have said: “Where plaintiff has made a reasonable effort to serve

  defendant, Congress intended that the [90] day deadline be extended.” Gambino v. Vill. of

  Oakbrook, 164 F.R.D. 271, 275 (M.D. Fla. 1995) (decided before the time limit for service

  changed from 120 days to 90). When addressing good cause, it generally exists where some

  outside factor, rather than negligence or inadvertence, prevented service. Rance v. Rocksolid

  Granit USA, Inc., 583 F.3d 1284, 1286 (11th Cir. 2009). Furthermore, in 2005, the Eleventh

  Circuit joined most federal appellate circuit courts, and held that Rule 4(m) granted discretion to

  a district court to extend the time for service of process even in the absence of a showing of good

  cause. Horenkamp v. Van Winkle & Co., 402 F.3d 1129, 1132 (11th Cir. 2005).

          When it comes to extending the time for service in or on a foreign entity, which is

  expressly exempt from Rule 4(m)’s 90 day limit, the Eleventh Circuit recently acknowledged

  that it has never published a decision providing “whether or what time constraints apply to

  service on foreign defendants,” and has adopted the “flexible due diligence” standard, which

  excuses delay where the plaintiffs are exercising diligence. See Harris v. Orange S.A., 636 F.

  App’x 476, 485 (11th Cir. 2015). Indeed, the Southern District of Florida has excused a delay

  of one year in serving a foreign defendant, recognizing the flexible due diligence standard and

  that any prejudice to the defendant was outweighed by the prejudice plaintiff would suffer if they

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  were not allowed to pursue their claims. See Steinberg v. Barclay’s Nominees (Branches), Ltd.,

  No. 04-cv-60897, 2008 U.S. Dist. LEXIS 123948, at *18–20 (S.D. Fla. Sep. 30, 2008).

         Plaintiffs have been diligent in their attempts to effectuate service and will continued to

  do so, and the issues affecting the delays are outside of their control.

         2. The Circumstances Here3

         As detailed in the Status Reports and their Motion for Reconsideration, Plaintiffs have

  worked with their service vendor, Judicial Process and Support, Inc., of Miami (“Judicial

  Process”), to accomplish service as efficiently as possible. Their president, Maria Gutierrez, has

  provided a Declaration in support of this Motion, which is attached hereto as Exhibit A. Judicial

  Process is one of a handful of vendors in the U.S. that has ample experience in perfecting service

  on Chinese entities. Ms. Gutierrez has over twenty years of direct, personal knowledge, as well

  as contact with the one office in China (Beijing) that receives foreign process for all of China. It

  is staffed by one person. (Ex. A, ¶ 6).

         That office was closed for much of the pandemic, and only opened with sporadic hours in

  later June. (Ex. A, ¶ 6). As soon as the First Amended Complaint was filed on July 7, 2020, it

  was submitted to Judicial Process for translation into Official Chinese. The summonses for all

  Defendants were prepared and submitted to the Court on July 13, 2020. [DE 22]. The Clerk

  issued the summonses on July 21, 2020, [DEs 24–28], and Judicial Process prepared the

  necessary service forms and translations of the summonses.4 (Ex A, ¶ 5).

         Because of the sporadic opening hours of the Beijing office, it took time for Judicial

  Process to coordinate the Federal Express delivery of Plaintiffs’ service documents because, in


  3
    Plaintiffs also reincorporate their filed Status Reports, [DEs 29, 33, and 34], and previous
  motions for extension of time, and for reconsideration, [DEs 16, 23], as if fully stated herein.
  4
    The U.S. based Defendant, PetroChina International (America), Inc., was served on July 31,
  2020, and appearances on their behalf were made August 17, 2020. [DEs 30, 31].
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  their experience, if a package is delivered while the office is closed, it is often deemed lost or

  destroyed. (Ex. A, ¶¶ 7, 8). They had to monitor the opening hours, and trigger the delivery at

  the right time, and successful receipt was accomplished on September 11, 2020. (Ex. A, ¶ 9).

  Ms. Gutierrez affirmed that the length of time between the issuance of the summonses and

  delivery was “not out of line under current circumstances.” (Ex. A, ¶ 10).

         Under the best of circumstances, the Foreign Sovereign Immunities Act (“FSIA”) gives

  governmental entities sixty (60) days to respond, so the PRC would have no duty to respond

  before mid-November, and the CCP5 would have no obligation to respond for twenty-one (21)

  days, but even that clock will not start ticking until the paperwork is processed by the

  compliance office, transmitted to the Chinese Supreme Court and then delivered to each

  Defendant.6

         Furthermore, in Ms. Gutierrez’s twenty years of experience with China, they often take

  six months or more to perfect service, although in rarer circumstances, there is a quicker

  response. (Ex. A, ¶ 13). However, Ms. Gutierrez notes that the current political climate between

  the countries is not helping the process. (Ex. A, ¶ 12).


  5
    Plaintiffs maintain and allege that the Communist Party of China (CCP) is not a governmental
  entity, but under the Hague Convention and Rule 4, they are still afforded more leeway in time to
  respond as a private entity.
  6
    Plaintiffs note that although they were first to file against China over the pandemic, the
  attorneys general of Missouri and Mississippi, as well as various other parties in different
  jurisdictions, have filed similar actions. Plaintiffs have reviewed these other dockets, and those
  other plaintiffs have either not served, or have run into the same roadblocks as Plaintiffs here.
  No China-based entity has appeared in these suits. See Missouri ex rel. Schmitt v. People’s
  Republic of China, No. 1:20-cv-99 (E.D. Mo. Apr. 21, 2020); Mississippi v. People’s Republic of
  China, No. 1:20-cv-168 (S.D. Miss. May 12, 2020); Smith v. People’s Republic of China, No.
  2:20-cv-1958 (E.D. Penn. Apr. 20, 2020) (six month extension for service granted Sept. 11,
  2020); Patella v. People’s Republic of China, No. 1:20-cv-433 (M.D. N.C. May 15, 2020);
  Edwards v. People’s Republic of China, No. 2:20-cv-1393 (E.D. La. May 8, 2020) (advised by
  compliance office service can take ten months); Bella Vista LLC v. People’s Republic of China,
  No. 2:20-cv-574 (D. Nev. Mar. 23, 2020); Buzz Photo v. People’s Republic of China, No. 3:20-
  cv-656 (N.D. Tex. Mar. 17, 2020).
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           Thus, Plaintiffs respectfully request that the Court extend the time for Plaintiffs to

  effectuate service to at least March 11, 2021, which, pursuant to Article 15 of the Hague

  Convention on Service of Process (which governs service here), would be the first date the Court

  would be allowed to consider an entry of default against the PRC and CCP. (Ex. A, ¶ 15). (A

  Proposed Order is Attached as Exhibit B).

           3. The Controlling Foreign Service Scheme Contemplates These Delays

           Jurisdiction regarding the claims against the PRC is governed mainly by the FSIA (28

  U.S.C. § 1602, et. seq.), and exceptions to sovereign immunity pursuant to the FSIA’s sub-

  sections, such as § 1605 and § 1605B. The FSIA also sets forth service protocols to be

  followed, depending upon the methods of service available or agreed to by the foreign state. See

  § 1608. Here, service upon the PRC and the CCP is governed by the Hague Convention on

  Service of Process, because both China and the United States are signatories to the Convention.7

  The Federal Rules of Civil Procedure further set forth the process of service on foreign entities

  and states. Fed.R.Civ.P. 4(f), 4(j).

           The Federal Rules, the FSIA, and the Hague Convention all contemplate and recognize

  that service on foreign entities may be time consuming. For instance, Rule 4(m) expressly

  provides that its ninety-day time limit for service does not apply to service in a foreign state

  under Rule 4(f), or service on a foreign state under Rule 4(j)(1). See Fed.R.Civ.P. 4(m). Both

  Rule 4(f) and 4(j)(1) apply here, to the CCP and PRC, respectively.

           The FSIA creates a four-step hierarchal protocol for perfecting service. 28 U.S.C. §§

  1608(a)(1) – (4). One step must be exhausted or inapplicable before the next step can be taken.

  Steps one (service via a special arrangement; § 1608(a)(1)), and three (via mail on the head of


  7
      See Hague Conference, https://www.hcch.net/en/instruments/conventions/status-table/?cid=17.
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  the foreign state’s Ministry of Foreign Affairs; § 1608(a)(3)), are not applicable to China.8

  Plaintiffs are attempting step two, service under the treaty. If it were to fail, Plaintiffs may take

  step four, “via the diplomatic channel,” or U.S. Department of State. § 1608(a)(4).

         However, the State Department makes it clear that the FSIA:

         . . . requires plaintiff to have first attempted service under sections FSIA
         1608(a)(1), (2) and (3) before proceeding to section 1608(a)(4). Thus, the U.S.
         Department of State requires a statement in writing from the plaintiff or the clerk
         certifying that these attempts were made or were otherwise not applicable.9

         If service on the Chinese governmental entities is not successful under the Hague

  Convention, the State Department requires a waiting period of thirty days for service of mail

  (which would not be applicable here) and then a new summons providing another sixty days for

  a response.10     The FSIA and the State Department have built in at least five months of time for

  all four steps of service on a foreign state — not counting any filing, processing, and translating

  time — when the time allotted on the summonses, and the State Department’s protocols are

  added together.

         Indeed, whether it is service on a foreign state, or service on a private person or entity in

  a foreign state, Article 15 of the Hague Convention does not allow a court in a signatory country

  to enter a default judgment against such state, person, or entity, “unless a period of time of not




  8
     There is no special arrangement available and China specifically opposed adoption of Article
  10 of the Hague Treaty which provides for service by postal mail.                          See
  https://www.hcch.net/en/instruments/conventions/status-table/notifications/?csid=393&
  disp=resdn.
  9
     See U.S. Department of State, FSIA Checklist, https://travel.state.gov/content/travel
  /en/legal/travel-legal-considerations/internl-judicial-asst/Service-of-Process/FSIA-
  Checklist.html.
  10
     See id.
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  less than six months, considered adequate by the judge in the particular case, has elapsed since

  the date of the transmission of the document.”11

          There have also been recent developments in Congress that may prove helpful to

  Plaintiffs’ efforts. On July 30th the Senate Judiciary Committee approved the “Civil Justice for

  Victims of COVID Act” (S. 4212) by a vote of 13 to 9. The Act would allow American citizens

  to sue China in federal court for damage done to their families and businesses by the

  coronavirus. Thus, Congress has recognized that Americans should be able to seek redress for

  China’s conduct as to the Coronavirus.

          In sum, Plaintiffs have diligently acted in good faith since filing the FAC, and posit that

  neither the Court nor the Parties shall be prejudiced by a further expansion of time for service to

  be perfected on the China based Defendants, and that they have shown good cause as to why

  service is yet to be effectuated. Indeed, it is Plaintiffs who will be prejudiced if additional time is

  not allowed for service on the foreign Defendants.

          WHEREFORE, Plaintiffs respectfully request that the Court extend the time for Plaintiffs

  to effectuate service through at least March 11, 2021; and for such other relief as the Court

  deems just and proper.

                   LOCAL RULE 7.1(a)(3) CERTIFICATION OF COUNSEL
          Pursuant to Local Rule 7.1(a)(3), the undersigned hereby certifies that counsel for the
  Plaintiffs has conferred with counsel for PCIA (as the only Defendant to have appeared in this
  action) in a good faith effort to resolve the issues raised in the motion and counsel for Defendant
  PCIA has represented to undersigned that PCIA takes no position on the relief sought by
  Plaintiffs.



  11
      14: Hague Convention of 15 Nov. 1965 on the Service Abroad of Judicial and Extrajudicial
  Documents       in       Civil      or      Commercial         Matters,   available      at:
  https://www.hcch.net/en/instruments/conventions/full-text/?cid=17.
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        Respectfully Submitted this 5th day of October, 2020.

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     UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
             MORIAH AHARON, et al. v. COMMUNIST PARTY OF CHINA, et al.
                          CASE NO. 9:20-cv-80604-RKA

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this October
   5, 2020 using the CM/ECF system which will send a notice of electronic filing to all counsel or
   parties of record on the service list, including the following attorneys of record.

                                                      /s/ Matthew T. Moore
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